Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12036   Page 1 of 25




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,                      Case No. 95-cr-50061

      v.                                    Hon. Bernard A. Friedman

DION ERIC SAVAGE,

            Defendant.
                                    /

   GOVERNMENT’S RESPONSE TO [987, 988, 1000, 1003, 1009]
         MOTIONS FOR SENTENCE REDUCTION

      As the government advised this Court in its response to the

motion before the defendant’s latest barrage, Dion Eric Savage “is a

highly litigious federal prisoner who has already been sanctioned by

both this Court and the Sixth Circuit for his abusive litigation.” [R. 999

at 1]. Savage’s current effort, triggered by the Fair Sentencing Act

retroactivity contained in the First Step Act of 2018, is no more

meritorious than his prior attempts to vacate his conviction or reduce

his sentence.




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Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12037   Page 2 of 25




      Savage was convicted of an offense that required, by statute, a

mandatory life sentence. Applying the Fair Sentencing Act to his

conviction doesn’t change anything. He’s still facing a mandatory life

sentence because he was held responsible for around 100 kilograms of

crack cocaine at his sentencing. Even if he were technically eligible for

resentencing (which he isn’t), it would serve no purpose, since there’s no

other sentence available than the one he’s got. So he’s not eligible for

relief. His various motions and supplemental motions should therefore

be denied.

                                       Respectfully submitted,
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                                      2
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12038   Page 3 of 25




                          BRIEF IN SUPPORT

      Savage’s habit of filing a new pleading every time he comes across

a new case or idea has complicated what should be a fairly

straightforward analysis. He’s serving a mandatory life sentence under

the Kingpin Statute, based on his leadership of a continuing criminal

enterprise through 1996. That enterprise was responsible for at least

100 kilograms of crack cocaine. If the current crack cocaine amounts in

Section 841 had been in effect in 1996, would that have made a

difference at his sentencing? The answer is plainly no.

      Savage isn’t eligible for relief because the penalty for the offense of

which he was convicted isn’t affected by the Fair Sentencing Act. Even

if he were considered eligible for resentencing because the statutory

penalties in general were modified, nothing could happen at that

resentencing but imposition of the original sentence because the offense

involved more than the quantity required to trigger a mandatory life

sentence.

                Savage Isn’t Eligible For Resentencing

      Pursuant to 18 U.S.C. § 3582(c), “[t]he court may not modify a

term of imprisonment once it has been imposed except that (1) . . . (B)
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Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12039   Page 4 of 25




the court may modify an imposed term of imprisonment to the extent

otherwise expressly permitted by statute . . . .” The relevant statute

here—the First Step Act—does not permit relief in this case.

      The First Step Act made the Fair Sentencing Act retroactive.

More specifically, it gave courts discretion to “impose a reduced

sentence as if Sections 2 and 3 of the Fair Sentencing Act of 2010 …

were in effect at the time the covered offense was committed.” First

Step Act § 404(b). Section 2 of the Fair Sentencing Act increased the

amount of crack cocaine required to trigger a five-year mandatory

minimum from 5 to 28 grams. See Dorsey v. United States, 567 U.S. 260,

269 (2012).

      The threshold question for Savage is whether CCE is a “covered

offense” under the First Step Act. Yes, he claims, because his offense

was found to have “involved at least 300 times the quantity of [crack

cocaine] described in subsection 841(b)(1)(B) of this title,” see Title 21,

United States Code, Section 848(b)(2)(A), and 841(b)(1)(B) is the

subsection modified by the Fair Sentencing Act. That finding was made

by the district judge as sentencing – the Second Superseding Indictment

contains no reference to “300 times the quantity,” 848(b)(2)(A),
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Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12040   Page 5 of 25




mandatory life imprisonment, 841(b)(1)(B), or even crack cocaine. [R.

90]. 1 Nor, in 1996, pre-Apprendi and Alleyne, did it need to. But it’s

worth noting that we are fully enmeshed in judge-found facts right off

the bat in Savage’s own argument that he is eligible.

      The language of the First Step Act, however, makes it clear that

eligibility is conditioned on whether the statutory penalties for a

defendant’s violation were modified by the Fair Sentencing Act, not

merely on whether the penalties were modified in general. See First

Step Act, § 404(a) (defining a “covered offense” as “a violation of a

Federal criminal statute, the statutory penalties for which were

modified”).

      By referring to a “violation” that was “committed” on a particular

date, Section 404(a) sensibly grounds the eligibility inquiry in the



1     As far as the charging document goes, the court could as easily
have found that the mandatory life provision applied to Savage based
on the alternative grounds found in Section 848(b)(2)(B), based on
proceeds of the enterprise. Savage would, in that circumstance, have no
First Step Act eligibility argument. But the facts of the covered offense
would apparently not have supported such a finding, and that’s the
point the government is making here: Savage’s very eligibility is
predicated on accepting as legitimate the facts of the offense itself, as
determined at his sentencing.
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Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12041   Page 6 of 25




actual conduct involved in the defendant’s violation, rather than the

statute under which the defendant was convicted. In Sedima, S.P.R.L.

v. Imrex Co., 473 U.S. 479, 489 (1985), for instance, the Supreme Court

held in the context of 18 U.S.C. § 1964(c) that the term “violation”

“refers only to a failure to adhere to legal requirements,” not a criminal

conviction. The Court explained that when Congress wishes to refer to

“prior convictions, rather than prior criminal activity,” it uses the term

“conviction,” not “violation.” Id. at 489 n.7. And in United States v.

Hayes, 555 U.S. 415 (2009), the Court held that a statute defining a

prior conviction for a “misdemeanor crime of domestic violence” referred

in part to the defendant’s actual conduct, not the statutory elements of

the crime, when it described the prior offense as one “committed by a

current or former spouse, parent, or guardian.” Id. at 426 (emphasis

added) (quoting 18 U.S.C. § 921(a)(33)(A)); cf. Nijhawan v. Holder, 557

U.S. 29, 32 (2009) (holding that a statutory term describing a prior

“offense” referred not to a generic crime but to the “particular

circumstances in which an offender committed” that offense “on a

particular occasion”).


                                      6
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12042   Page 7 of 25




      Here, Congress directed courts to assess eligibility by reference to

the specific violation the defendant committed, rather than his statute

of conviction. Congress easily could have declared eligible “any

defendant convicted under a statute for which the penalties were

altered by the Fair Sentencing Act of 2010, so long as that defendant

has not already been sentenced in accordance with that Act.” Instead,

Congress focused specifically on the “violation” for which the statutory

penalties were modified by the Fair Sentencing Act. To repeat, the

operative clause is: “a violation of a Federal criminal statute, the

statutory penalties for which were modified by section 2 or 3 of the Fair

Sentencing Act of 2010 . . . that was committed before August 3, 2010.”

According to the defense, this provides that a defendant is eligible

whenever the penalties set forth in a statute under which he was

charged were modified, regardless of the actual facts of the offense. But

this conclusion misreads the statute, erroneously construing the phrase

“the statutory penalties for which” to modify “Federal criminal statute,”

rather than the full phrase “a violation of a Federal criminal statute.”

      This construction suffers from two related infirmities. First, if all

that mattered in determining eligibility were whether the penalties
                                      7
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12043   Page 8 of 25




associated with the defendant’s statute of conviction were modified,

then any defendant convicted of any drug offense under Section 841

would be eligible for a reduction, even if the offense did not involve

crack cocaine. Plainly, Congress included the word “violation” to ensure

that only those defendants whose penalties actually were affected by

the Fair Sentencing Act would be eligible for a discretionary reduction.

And second, if the defense construction were correct, it would make no

sense for Congress to have included the word “statutory” in describing

the relevant penalties. That is, if Congress intended the phrase “the

statutory penalties for which” to modify only “Federal criminal statute,”

Congress naturally would have dropped “statutory” to avoid an

immediate redundancy (“a Federal criminal statute, the penalties for

which. . . .”).

      Moreover, Section 404 directs particular attention to the

circumstances under which the particular violation was “committed,”

not to the statute of conviction generically. Both Sections 404(a) and

404(b) address the date of commission, and in Section 404(a) in

particular, Congress added a date-based qualifier: “that was committed

before August 3, 2010.” Thus, the inquiry into what counts as a “covered
                                      8
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12044   Page 9 of 25




offense” necessarily turns on facts specific to the defendant’s offense—

when it was committed—and not merely the statutory definitions that

appear in 21 U.S.C. § 841(b)(1).

      Thus, it is clear from the text that a defendant is eligible only if

the statutory penalties for his violation were modified by the Fair

Sentencing Act. In other words, Congress directed courts assessing

eligibility to take a case-specific approach, focusing on the actual

violation at issue. Courts therefore should not blind themselves to the

actual quantity of crack involved in defendants’ offenses—especially if

the defendant admitted or did not dispute those quantities. If, as is the

case here, the defendant’s “violation” involved a quantity of crack that

would have triggered the same penalty after enactment of the Fair

Sentencing Act, then that defendant’s “violation” is not one for which

the statutory penalties were modified by the Fair Sentencing Act.

Accordingly, the court did not impose a sentence for a “covered offense,”

and the defendant is ineligible for a reduced sentence.

      The defendant’s contrary reading not only undermines the

statutory text, but also conflicts with Congress’s manifest intent, as it

would lead to profoundly unfair and illogical disparities between
                                      9
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12045   Page 10 of 25




defendants charged before and after the Fair Sentencing Act. There is

no dispute that Congress, in enacting Section 404 of the First Step Act

in 2018, was concerned about a particular class of cocaine base

defendants: those whose statutory penalties would have been lower but

for the fortuity that they were sentenced before August 3, 2010, and

therefore could not take advantage of the Fair Sentencing Act. See

Dorsey v. United States, 567 U.S. 260 (2012). For instance, if a crime

involved 200 grams of crack, and the defendant was sentenced under

Section 841(b)(1)(A) before August 3, 2010, a court should consider

whether to grant a reduced sentence, as the Fair Sentencing Act places

the 200-gram offense in Section 841(b)(1)(B). This relief puts the

offender in an identical position to those sentenced after August 3,

2010. If, however, the original crime involved at least 280 grams of

crack, the defendant’s violation would have triggered the same Section

841(b)(1)(A) penalties both before and after the Fair Sentencing Act. If

such a defendant had been sentenced after the Fair Sentencing Act, all

agree that he could not obtain a discretionary reduction of sentence

today. But under the defense approach, had that same defendant been

sentenced before the Fair Sentencing Act took effect, he would now be
                                      10
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12046   Page 11 of 25




entitled to a discretionary reduction of sentence. Nothing in the text or

legislative history of the First Step Act suggests that Congress would

have countenanced this asymmetry, which is entirely unfair to

defendants sentenced after enactment of the Fair Sentencing Act.

      This case illustrates the point. As explained, the defendant’s

offense indisputably involved more than the 8.4 kilograms of crack now

required to support a mandatory life sentence under the Kingpin

Statute. Every crack offender charged with and convicted of such a

crime since August 3, 2010, has been sentenced under that same

provision. If the defendant here were to receive a sentence reduction

based on the fiction that his offense involved only 1.5 kilograms of

crack, his statutory sentencing exposure would be lower than that faced

by everyone who was charged with the same crime after August 3, 2010.

The purpose of the First Step Act was to reconcile the disparity between

those sentenced before the Act and those sentenced afterwards. It would

turn that goal on its head to instead afford greater relief, untethered to

any actual facts, to earlier offenders.

      To make matters worse, under the defense approach, nearly every

defendant charged under Sections 841(b)(1)(A) or (b)(1)(B) before the
                                      11
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12047   Page 12 of 25




Fair Sentencing Act would now be eligible for a sentence reduction.

Before the Fair Sentencing Act, there was no reason for any prosecutor

to allege in an indictment more than 50 grams for a subsection A

offense or more than 5 grams for a subsection B offense. Under the Fair

Sentencing Act, however, those specific quantities—50 grams and 5

grams—are treated less severely. Thus, under the defense view, nearly

every defendant charged under those statutes would be treated

differently from identically situated defendants charged after the Fair

Sentencing Act became effective, even if their violations involved crack

quantities substantially exceeding the new statutory thresholds. The

defendant does not, and cannot, offer any justification for the mass

disparity he seeks, or any explanation of why Congress would have

intended such an odd result.

      In a similar context, in assessing eligibility for a reduced sentence

under 18 U.S.C. § 3582(c)(2) based on a retroactive guideline

amendment, courts may deny relief upon concluding that the offense

involved a drug quantity supporting the same offense level both before

and after the amendment. See, e.g., United States v. Rios, 765 F.3d 133,

138 (2d Cir. 2014); United States v. Peters, 843 F.3d 572, 578 (4th Cir.
                                      12
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12048   Page 13 of 25




2016); United States v. Valentine, 694 F.3d 665, 670 (6th Cir. 2012);

United States v. Hall, 600 F.3d 872, 876 (7th Cir. 2010); United States v.

Anderson, 707 F.3d 973, 975 (8th Cir. 2013); United States v. Mercado-

Moreno, 869 F.3d 942, 953–55 (9th Cir. 2017); United States v. Battle,

706 F.3d 1313, 1319 (10th Cir. 2013); United States v. Hamilton, 715

F.3d 328, 340 (11th Cir. 2013); United States v. Wyche, 741 F.3d 1284,

1293 (D.C. Cir. 2014). In reasoning that is directly applicable to the

present situation as well, the Ninth Circuit explained:

      Typically, in those cases, neither the court nor the parties
      anticipate a future Guidelines amendment that will move
      the line and require further fact-finding to determine the
      defendant’s eligibility for a sentence reduction under §
      3582(c)(2).

      In those cases where a sentencing court’s quantity finding is
      ambiguous or incomplete, a district court may need to
      identify the quantity attributable to the defendant with
      more precision to compare it against the revised drug
      quantity threshold under the relevant Guidelines
      amendment. The Supreme Court indicated that such fact-
      finding was permissible in Dillon. See 560 U.S. at 828-29
      (stating that “facts found by a judge at a § 3582(c)(2)
      proceeding do not serve to increase the prescribed range of
      punishment”).

Mercado-Moreno, 869 F.3d at 954. The same fact-finding is necessary

here to compare the drug quantity attributable to the defendant against

                                      13
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12049   Page 14 of 25




the revised drug quantity thresholds under the Fair Sentencing Act,

and is not restricted by Apprendi and Alleyne. In this case, however, the

fact-finding is easy: It is indisputable that the defendant’s offense

involved at least 8.4 kilograms of crack.

      It seems obvious that CCE defendants weren’t top of mind for the

drafters of the First Step Act, who might otherwise have written an

eligibility provision that required less in the way of analytic acrobatics.

Savage’s technical eligibility is a relatively harder question, and it

sometimes pays to peek past hard questions to see whether the answer

makes any difference to the outcome. In this case, it doesn’t.

                 Even if Savage was Eligible for Relief,
                 the Same Sentence Would be Required

      Even if Savage were eligible for resentencing under the First Step

Act, he couldn’t get any other sentence than the one he received. The

presentence investigation report in this case attributed, in paragraph

20, more than 100 kilograms of crack cocaine to Savage’s organization. 2


2    The Guidelines range in the PSR was, of course, calculated using
the drug amount of at least 1.5 kilograms of crack cocaine. That was the
highest level at the time, so there was no higher number that could
have been referenced in that section. Similarly, there was a reference by
the prosecutor at sentencing to the 1.5 kilogram number, but that
                                      14
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12050   Page 15 of 25




At his sentencing, Savage objected to a range of paragraphs that

included that attribution, and the court overruled that objection,

adopting the PSR. [R. 343 at 14-17].

      Until the First Step Act made it convenient to do so, Savage never

tried to argue that he was responsible for only 1.5 kilograms of crack

cocaine. Nor could he have, since more than that was seized from one of

his co-conspirators during a single traffic stop, and a cooperating

witness testified to more than 100 kilograms. See PSR ¶¶ 20, 29. He

denied any involvement in drug dealing whatsoever, perjuring himself

at trial and carrying that denial through sentencing. But the district

court disagreed in no uncertain terms, telling him, among other things,

“You were involved in organizing, operating a large scale narcotics

trafficking operation, large amounts of crack cocaine were sold from

your party stores located in Flint. The conspiracy took place over

several years and you profited financially to a considerable extent from

your involvement in drug trafficking.” [R. 343 at 40-41].



reference clearly used that number because it was “sufficient” and was
immediately followed by the more specific actual amount of “101 half
[sic, should apparently be 101.5] kilos of crack cocaine” that “the record
[would] sustain independent of [the minimum required].” [R. 343 at 33].
                                      15
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12051   Page 16 of 25




      In his attempt to avoid the import of the facts found at his

sentencing, Savage tries to split the finest of hairs. The judge-found

facts at his sentencing determine whether his offense is “covered” by the

First Step Act, but the same act somehow requires a shift to the “drug

type and quantity … charged in the indictment” (his emphasis) when

conducting the resentencing. [R. 1000 at 9]. He attempts this maneuver

by reference to an out-of-circuit district court decision, United States v.

Powell, 360 F. Supp. 3d 134 (N.D.N.Y. 2019).

      Powell is quite a different case, though. His indictment charged a

specific amount of crack cocaine, for one thing, that was less than what

the government sought to hold him accountable for at resentencing. Id.

at 135-36. And the PSR, accepted by the court at sentencing, held him

responsible for no more than 150 grams of crack, again, less than what

the government sought to hold him accountable for at resentencing. Id.

at 139. Both of those things were critical to the Powell decision, and

neither is present in this case.

      Savage’s other cases similarly dissolve on contact. In United

States v. Glore, 371 F. Supp. 3d 524 (E.D. Wisc. 2019), was charged and

convicted of an offense alleging five grams of crack cocaine, which was
                                      16
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12052   Page 17 of 25




the amount used to set his career offender Guidelines range. Id. at 531.

On resentencing, the court declined to proceed as if the sentencing court

might have calculated his Guidelines using a different amount than

that found by the jury. See id. at 532. That determination isn’t relevant

to the question before the Court in this case.

      The defendant in United States v. Pierre, 372 F. Supp. 3d 17

(D.R.I. 2019), was similarly indicted for an offense involving five or

more grams of crack, though he admitted in his plea colloquy to a

higher amount (28.77 grams). Id. at 21. Faced with this conflict, the

district court held that “the sentencing court should look to whether the

offense of conviction was modified by the Fair Sentencing Act of 2010 to

determine [First Step Act] eligibility.” Id. at 22. But there is no similar

conflict here. In order to establish that he is eligible in the first place,

Savage has to rely on the offense not as charged, but as determined at

sentencing. There isn’t any alternative formulation of the offense to fall

back on.

      Savage cites United States v. Simons, 375 F. Supp. 3d 379

(E.D.N.Y. 2019), which merely contains a cursory analysis that cites to

Alleyne v. United States, 570 U.S. 99 (2013), for the proposition that
                                      17
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12053   Page 18 of 25




statutory minimums are based on facts determined by juries, not by

judges. 375 F. Supp. 3d at 387.

      That is certainly true now, but it wasn’t in 1997, when Savage

was sentenced. Alleyne itself wasn’t decided until three years after the

Fair Sentencing Act of 2010, and it was unanimously concluded by the

circuit courts that it did not apply retroactively. See Butterworth v.

United States, 775 F.3d 459, 464–65 (1st Cir. 2015); United States v.

Redd, 735 F.3d 88, 91–92 (2d Cir. 2013) (per curiam); United States v.

Reyes, 755 F.3d 210, 212–13 (3d Cir. 2014); United States v. Olvera, 775

F.3d 726, 730 & n.12 (5th Cir. 2015); In re Mazzio, 756 F.3d 487, 489–91

(6th Cir. 2014); Crayton v. United States, 799 F.3d 623, 624 (7th Cir.

2015); Walker v. United States, 810 F.3d 568, 574 (8th Cir. 2016);

Hughes v. United States, 770 F.3d 814, 817–19 (9th Cir. 2014); In re

Payne, 733 F.3d 1027, 1029–30 (10th Cir. 2013); Jeanty v. Warden, FCI-

Miami, 757 F.3d 1283, 1285–86 (11th Cir. 2014). Even after Apprendi,

courts could and did make findings subjecting defendants to statutory

mandatory minimum penalties, a practice authorized by Harris v.

United States, 536 U.S. 545 (2002).


                                      18
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12054   Page 19 of 25




      Nothing in the First Step Act suggests that Congress intended to

adopt a different methodology now. And declining to reduce Savage’s

sentence doesn’t involve any increase in his sentence based on judge-

found facts, so it doesn’t offend Apprendi or Alleyne to deny him relief

today.

      This Court therefore can and should determine whether the

defendant’s violation involved quantities that would have triggered the

same penalties had the Fair Sentencing Act been in effect. Here, it is

evident that the same statutory minimum would have applied, and the

defendant is not eligible for relief.

      While the district courts have not uniformly adopted the

government’s approach (or any other approach, for that matter), several

courts have persuasively approved the position set forth here. Judge

Hinkle, for example, in a lengthy opinion in United States v. Blocker,

2019 WL 2051957 (N.D. Fla. Apr. 25, 2019), observed that the defense

position “would not eliminate disparity but instead would introduce

enormous disparity in the opposite direction, giving earlier crack

defendants a lower penalty range not available to later crack


                                        19
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12055   Page 20 of 25




defendants.” Id. at *5. The court identified another absurdity in the

defense position:

      Similarly, the Fair Sentencing Act was intended to lower the
      sentencing disparity between crack and powder, changing
      the 100-to-1 drug-amount ratio to approximately 18-to-1.
      The First Step Act was intended to give that same benefit to
      earlier crack defendants. The offense-controls theory
      [determining eligibility based on actual conduct]
      accomplishes that result. But if sentences for crack offenses
      are now lowered based on the indictment-controls theory
      [looking only to the charge in the indictment], an enormous
      disparity will be created in the opposite direction. Many
      defendants who committed crack offenses prior to adoption
      of the Fair Sentencing Act will be subject to lower penalty
      ranges than defendants who committed offenses involving
      the same amount of powder.

      Consider, for example, two defendants, one who conspired in
      2007 to distribute 5 kilograms of powder, and the other who
      conspired to distribute 5 kilograms of crack, both with two
      prior felony drug convictions. In 2007, before adoption of the
      Fair Sentencing Act, both would have been subject to
      mandatory life sentences—the powder defendant because
      the offense involved 5 kilograms or more, and the crack
      defendant because the offense involved 50 grams or more.
      The indictments would have tracked the statute, so the
      powder defendant’s indictment would have charged 5
      kilograms or more of powder, and the crack defendant’s
      indictment would have charged 50 grams or more of crack. If
      both were convicted, both would have faced mandatory life
      sentences.

      Under the offense-controls theory, nothing would change.
      Both defendants would still be subject to mandatory life
      sentences, just as two defendants who committed the same
                                      20
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12056   Page 21 of 25




      offenses today would be subject to mandatory life sentences.
      There is no reason to believe Congress intended any
      different result.

      But under the indictment-controls theory, the crack
      defendant would now face a minimum of only 10 years, not
      life, because he would be treated as having committed an
      offense involving only 50 grams of crack—not 280 or more as
      required to trigger the life sentence. This would be the result
      even though the offense actually involved 5 kilograms of
      crack and the government could prove it. The powder
      defendant, in contrast, would continue to serve the
      mandatory life sentence, because nothing in the Fair
      Sentencing Act or First Step Act allows a sentence reduction
      for a defendant whose offense involved only powder.
      Congress could not have intended to treat crack defendants
      this much more favorably than powder defendants.

Id. at *6; see also United States v. Russo, 2019 WL 1277507, at *1 (D.

Neb. Mar. 20, 2019) (“[T]he Court cannot conclude that the First Step

Act anticipates a full re-sentencing with application of laws and

Guidelines that have changed since a defendant’s original sentencing,

other than the retroactive application of the reduced penalties for crack

cocaine set out in the Fair Sentencing Act. If the Court were to engage

in such a re-sentencing, applying other laws and Guidelines that have

been changed since Russo’s original sentencing, it would work an

injustice to offenders sentenced in the past who did not have a crack


                                      21
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12057   Page 22 of 25




cocaine conviction qualifying for sentence reduction pursuant to the

Fair Sentencing Act of 2010.”).

      A number of other courts thus far have agreed that eligibility for

relief is determined based on the actual quantity involved in the

offense. See United States v. Potts, 2019 WL 1059837, at *2 (S.D. Fla.

Mar. 6, 2019); United States v. Haynes, 2019 WL 1430125, at *2 (D.

Neb. Mar. 29, 2019); United States v. Howard, 2019 U.S. Dist. LEXIS

109055 (D. Neb. June 28, 2019); United States v. Banuelos, 2019 WL

2191788 (D.N.M. May 21, 2019) (agrees with the government’s quantity

argument; to avoid disparity, would also deny relief as a matter of

discretion); United States v. Jackson, 2019 U.S. Dist. LEXIS 109993

(E.D. Pa. June 26, 2019); cf. United States v. Glover, 2019 WL 1924706,

at *7 (S.D. Fla. May 1, 2019) (Lenard, J.) (holding that Apprendi does

not apply to a resentencing under Section 404); United States v.

Washington, 2019 WL 2410078, at *2 (S.D. Fla. June 7, 2019)

(Rosenberg, J.) (denying motion to reduce term of supervised release,

holding that the First Step Act does not permit reconsideration of

“extraneous” issues such as application of Apprendi and Alleyne).


                                      22
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12058   Page 23 of 25




       Reduction Would be Unwarranted Even if Authorized

      Even if the Court believed the First Step Act authorized a lower

sentence, such a sentence would not be required. Section 404(c) of the

Act makes clear that any sentence reduction is discretionary, stating,

“[n]othing in this section shall be construed to require a court to reduce

any sentence pursuant to this section.” The statutory maximum would

still be life. 21 U.S.C. § 848. And it is obvious from the record that

Savage would have been sentenced to life imprisonment whether the

necessary quantity was 1.5 kilograms or 8.4 kilograms, and similarly

situated offenders facing sentencing now would have to be sentenced to

life. See Dorsey, 567 U.S. at 276-79 (expressing the importance of

consistency in sentencing similarly situated offenders when

determining the retroactive application of a statutory amendment). Any

sentence reduction would be a windfall not available to Savage if he

were tried for the same offense today, or really even if the Fair

Sentencing Act had been in effect at the time of his offense, when he

would still have been accountable for 300 times the quantity in

841(b)(1)(B). See United States v. Patterson, 2019 WL 3072705

(W.D.N.C. July 12, 2019) (denying discretionary relief to a defendant
                                      23
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12059   Page 24 of 25




who would have been prosecuted after the Fair Sentencing Act under a

provision mandating the same penalties he faced in his original

proceedings, so it would cause undue disparity to grant relief).

                                 Conclusion

      For the foregoing reasons, the Defendant’s motions for sentence

reduction should be denied.

                                        Respectfully submitted,

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 Dated: July 26, 2019




                                      24
Case 4:95-cr-50061-BAF ECF No. 1012 filed 07/26/19   PageID.12060   Page 25 of 25




                            Certificate of Service

      I certify that on July 26, 2019, I electronically filed this motion for

the United States with the Clerk of the United States District Court for

the Eastern District of Michigan using the ECF system, which will send

notification of such filing to the following:

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                                      25
